Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 1 of 9 PageID# 274



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

                                                   )
QBE UNDERWRITING LIMITED as                        )
managing agent of Syndicate 1036 at Lloyd’s        )
of London                                          )
                                                   )
and                                                )
                                                   )
QBE CORPORATE LIMITED as lead                      )
Underwriter in its individual capacity             ) Civil Action No. 2:19-cv-00054-HCM-
subscribing to Policy Number B0507-                ) RJK
M18PL00480,                                        )
                                                   )
           Plaintiffs,                             )
                                                   )
v.                                                 )
                                                   )
HOST TERMINALS, LLC                                )
                                                   )
and                                                )
                                                   )
ENVIVA PORT OF CHESAPEAKE LLC                      )
                                                   )
                                                   )
           Defendants.                             )
                                                   )
                                                   )

         FIRST AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiffs QBE Underwriting Limited as managing agent of Syndicate 1036 at Lloyd’s of

London and QBE Corporate Limited as lead underwriter in its individual capacity subscribing to

Policy Number B0507-M18PL00480 (QBE Underwriting Limited and QBE Corporate Limited

in their individual capacities only are collectively referred to herein for sake of convenience as

“Underwriters”), by counsel, pursuant to Federal Rule of Civil Procedure 15(a)(1)(B), state as

follows as their Complaint for Declaratory Judgment against Defendants Host Terminals, LLC

(“Host”) and Enviva Port of Chesapeake LLC (“Enviva”).
Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 2 of 9 PageID# 275



                                        I.     Parties

        1.    Plaintiff QBE Underwriting Limited is a business entity organized and existing

under the law of England and Wales with a principal place of business located at Plantation

Place, 30 Fenchurch Street, London, United Kingdom, EC3M 3BD and as such, a citizen of a

foreign country.

        2.    Plaintiff QBE Corporate limited is a business entity organized and existing under

the law of England and Wales with a principal place of business located at Plantation Place, 30

Fenchurch Street, London, United Kingdom, EC3M 3BD and as such, a citizen of a foreign

country.

        3.    Defendant Host Terminals, LLC is the successor in interest of Host Terminals,

Inc. Host Terminals, LLC is a limited liability company organized and existing under the laws

of the Commonwealth of Virginia, with its principal place of business located in the

Commonwealth of Virginia. Upon information and belief, the members of Host Terminals, LLC

are citizens of the Commonwealth of Virginia. Thus, Host Terminals, LLC is a citizen of

Virginia.

        4.    Defendant Enviva Port of Chesapeake LLC is a limited liability company

organized and existing under the laws of the State of Delaware, with its principal place of

business located in the State of Maryland. Upon information and belief, the members of Enviva

Port of Chesapeake, LLC are citizens of the States of Delaware and Maryland. Thus, Enviva

Port of Chesapeake, LLC is a citizen of Delaware and Maryland.

                               II.     Jurisdiction and Venue

        5.    This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201 and §

2202.




                                              2
Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 3 of 9 PageID# 276



       6.     The jurisdiction of this Court is invoked pursuant 28 U.S.C. § 1332 as there is

complete diversity of citizenship between Plaintiffs Underwriters and Defendants Host and

Enviva and the amount in controversy exceeds, exclusive of interest and costs, the sum of

seventy-five thousand dollars ($75,000.00).

       7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391.

                                         III.        Facts

The Enviva Demand

       8.     Host provided services to Enviva under a Terminal Services Agreement (“TSA”)

at Enviva’s deep-water marine terminal located in Chesapeake, Virginia (the “Terminal”).

       9.     A fire occurred at the Terminal on or about February 27, 2018.

       10.    Enviva asserted a demand against Host for damages caused by the fire, alleging

that Host’s misconduct and breach of the TSA caused the fire.

       11.    Enviva asserts that Host is liable to Enviva for damages totaling $83.2 million,

including:

              a.      Losses related to damaged equipment in the amount of $13.9 million;

              b.      Losses related to damaged Biomass in the amount of $15.9 million;

              c.      Losses related to controlling and managing the fire in the amount of $9.1

                      million;

              d.      Losses related to business continuity in the amount of $26.6 million;

              e.      Losses related to additional financing costs in the amount of $1.6 million;

              f.      Attorneys’ fees and costs in the amount of $0.9 million; and

              g.      Losses related to increased insurance premiums and deductibles in the

                      amount of $15.2 million.




                                                 3
Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 4 of 9 PageID# 277



       12.         Relevant to this Complaint, the TSA provides that all insurance maintained by

Enviva shall contain a waiver of subrogation against Host.

       13.         Host tendered Enviva’s demand to Underwriters under the Policy (defined below)

for indemnification.

The Policy

       14.         Underwriters issued Excess Policy No. B0507-M18PL00480, effective January 1,

2018 to January 1, 2019, to T. Parker Host, Inc. and/or Paradise Point Marine, LLC and/or H&H

Delivery Services, LLC and/or Host Terminal, Inc. and/or Prism Marine, LLC and/or Ms Janet,

LLC and/or Raven Power Barge Including subsidiary and/or affiliated and/or associated and/or

partnership companies and/or individual assureds as their respective interests may appear (as the

named insured) (the “Policy”).

       15.         Relevant to this Complaint, the Policy contains the following insuring agreement:

       I.          INSURING AGREEMENTS

       1.    COVERAGE

             In consideration of the payment of the premium set out in Item 7 of the
             Declarations and in reliance upon the proposal for this policy (hereinafter
             Policy), statements made, and any supplementary information pertaining to
             the proposal which are all deemed incorporated herein, Underwriters agree,
             subject to the Insuring Agreements, Conditions, Exclusions, Definitions and
             Declarations contained in this Policy, to indemnify the “Insured” in respect
             of its operations anywhere in the World, and any “Additional Insured” as far
             as applicable for “Ultimate Net Loss” by reason of liability:

             (a)          imposed upon the “Insured” by law or

             (b)          assumed by the “Insured” under an “Insured Contract”,

             for damages in respect of:

             (i)          “Bodily Injury”

             (ii)         “Personal Injury”



                                                   4
Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 5 of 9 PageID# 278



              (iii)     “Property Damage”

              (iv)      “Advertising Injury”,

              caused by or arising out of an “Occurrence” during the Policy Period as set
              out in Item 5 of the Declarations.

              Nothing contained in this Policy shall make this Policy subject to the terms
              of any other insurance.

       16.       The Policy contains the following relevant Exclusions:

       III.      EXCLUSIONS

                 This Policy shall not indemnify the “insured” for any actual or alleged
                 liability:
                                             ***
                 5.       for “Property Damage” to property:

                        (a)     owned, leased, rented or occupied by the “Insured”;

                        (b)     in the care custody or control of the “Insured”;

                 6.     for “Property Damage” to the “Insured’s Products” arising out of it
                        or any part of it;

                 7.     for “Property Damage” to property worked on by or on behalf of
                        the “Insured” arising out of such work or any portion thereof, or
                        out of any material, parts or equipment furnished in connection
                        therewith;

                 8.     for the withdrawal, recall, return, inspection, repair, replacement,
                        or loss of use of the “Insured’s Products” or work completed by or
                        for the “Insured” or for any property of which such “Insured’s
                        Product” or work form a part;

       17.       The Policy also contains a London Umbrella Policy JL 2012/006 Amendatory

Endorsement which modifies Exclusion 5, set forth in the previous paragraph, as follows:

                LONDON UMBRELLA POLICY JL 2012/006 AMENDATORY
                                         ENDORSEMENT
                                                ***
       c)       Exclusion 5(b) shall not apply to “Watercraft” or cargo in the “Insured’s”
                care, custody or control.

       18.       The Policy contains the following relevant definition:


                                                  5
Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 6 of 9 PageID# 279



       IV.     DEFINITIONS
                                               ***
       16.     INSURED’S PRODUCTS

               The words “Insured’s Products”, wherever used in this Policy, shall mean
               goods or products manufactured, sold, handled or distributed by the
               “Insured” or by others trading under the name of the “Insured” or by
               others trading under the name of the “Insured”, including any packaging
               thereof.

                         COUNT I – DECLARATORY JUDGMENT

       19.     Underwriters reallege and reincorporate herein by reference the allegations set

forth in the foregoing paragraphs.

       20.     An actual controversy exists between Underwriters, Host, and Enviva concerning

whether Host is entitled to coverage with respect to Enviva’s demand under the Policy. There is

no adequate remedy, other than that requested herein, by which this controversy may be

resolved.

       21.     Underwriters seek a declaration pursuant to 28 U.S.C. § 2201 and § 2202 that

Host is not entitled to coverage with respect to Enviva’s demand under the Policy.

       22.     Underwriters are entitled to this declaratory judgment:

               a.     Because the damages claimed in Enviva’s demand are excluded pursuant

                      to Exclusion 5;

               b.     To the extent that the damages claimed in Enviva’s demand are excluded

                      pursuant to Exclusion 6;

               c.     To the extent that the damages claimed in Enviva’s demand are excluded

                      pursuant to Exclusion 7;

               d.     To the extent that the damages claimed in Enviva’s demand are excluded

                      pursuant to Exclusion 8; and




                                                 6
Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 7 of 9 PageID# 280



             e.        To the extent that the damages claimed by Enviva are not covered under

                       the insuring agreement of the Policy because no liability for such damages

                       has been imposed upon Host by law and because liability for such

                       damages has not been assumed by Host under an “Insured Contract.”

      WHEREFORE, Underwriters respectfully request that this Court:

      1.     Declare that the Policy does not provide coverage to Host with respect to

Enviva’s demand; and

      2.     Award such other and further relief as this Court deems just and proper.


                                             QBE UNDERWRITING LIMITED as managing
                                             agent of Syndicate 1036 at Lloyd’s of London

                                             QBE CORPORATE LIMITED as lead
                                             underwriter in its individual capacity
                                             subscribing to Policy Number B0507-
                                             M18PL00480

                                             By:    /s/ Lindsay L. Rollins
                                                            Counsel

John B. Mumford, Jr. (VSB No.: 38764)
Lindsay Lankford Rollins (VSB No.: 86362)
Hancock, Daniel & Johnson, P.C.
4701 Cox Road, Suite 400
Glen Allen, Virginia 23060
jmumford@hancockdaniel.com
lrollins@hancockdaniel.com
Phone: (804) 967-9604
Fax: (804) 967-9888
Counsel for QBE Underwriting Limited
as managing agent of Syndicate 1036 at
Lloyd’s of London and
QBE Corporate Limited
as lead underwriter in its individual capacity
subscribing to Policy Number B0507-M18PL00480




                                                7
Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 8 of 9 PageID# 281



                                CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of July 2019, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:

       Deborah Y. Collins
       Sullivan Collins Law Group P.L.C.
       440 Monticello Avenue, Suite 1841
       Norfolk, Virginia 23510
       Phone: (757) 955-8545
       Fax: (757) 687-0702
       dcollins@asksullivan.com
       Counsel for Host Terminals, LLC

       Raymond A. Mascia, Jr.
       William G. Passannante
       Anderson Kill, P.C.
       1251 Avenue of the Americas
       New York, NY 10020
       Phone: (212)278-1000
       Fax: (212) 278-1733
       rmascia@andersonkill.com
       wpassannante@andersonkill.com
       Counsel for Host Terminals, LLC

       Michael S. Dry
       Daniel T. Wallmuth
       Vinson & Elkins, LLP
       2200 Pennsylvania Ave. NW
       Suite 500 West
       Washington, DC 20037
       Phone: (202) 639-6525
       Fax: (202) 879-8665
       mdry@velaw.com
       dwallmuth@velaw.com
       Counsel for Enviva Port of Chesapeake LLC




                                                8
Case 2:19-cv-00054-HCM-RJK Document 30 Filed 07/02/19 Page 9 of 9 PageID# 282




                                   /s/ Lindsay L. Rollins
                                   John B. Mumford, Jr. (VSB No.: 38764)
                                   Lindsay Lankford Rollins (VSB No.: 86362)
                                   Hancock, Daniel & Johnson, P.C.
                                   4701 Cox Road, Suite 400
                                   Glen Allen, Virginia 23060
                                   jmumford@hancockdaniel.com
                                   lrollins@hancockdaniel.com
                                   Phone: (804) 967-9604
                                   Fax: (804) 967-9888
                                   Counsel for QBE Underwriting Limited
                                   as managing agent of Syndicate 1036 at
                                   Lloyd’s of London and
                                   QBE Corporate Limited
                                   as lead underwriter in its individual capacity
                                   subscribing to Policy Number B0507-M18PL00480
